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                    THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

JOSE PEDRAZA NIEVES,

      Plaintiff,

      vs.                                             Case No: 2:23-cv-1209


RACETRAC, INC.,

     Defendant.
___________________________________ /

                              NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant RACETRAC,

INC., (hereinafter “RaceTrac”) hereby removes to this Court the action filed against

it in the Circuit Court of the Twentieth Judicial Circuit, in and for Collier County,

Florida, Case No. 23-CA-001470. As grounds for removal of this action to the

United States Court for the Middle District of Florida, Fort Myers Division,

RaceTrac states as follows:

                   INTRODUCTION/FACTUAL BACKGROUND

      1.     This Complaint arises from the Plaintiff, JOSE PEDRAZA NIEVES,

allegedly tripping on a windshield water box while at RaceTrac’s self-service

gasoline station on or about June 29, 2022, thereby causing personal injury. Plaintiff

alleges that RaceTrac had a duty to exercise reasonable care for his safety. The

Complaint is attached as Exhibit “A”.
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       2.     Plaintiff filed this lawsuit in the Circuit Court in and for Collier County

on March 23, 2023, captioned Jose Pedraza Nieves v. RaceTrac, Inc. (the “Circuit

Court case”). The Circuit Court case was assigned Case Number 23-CA-001470.

Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders in the Circuit

Court file for Case No. 23-CA-001470 are attached hereto as Exhibit “B”.

       3.     Under 28 U.S.C. § 1441(a), venue properly rests in the Fort Myers

Division of the United States District Court for the Middle District of Florida, as this

action is being removed from the State Court where it was originally filed in the

Twentieth Judicial Circuit, in and for Collier County, Florida.

                               GROUNDS FOR REMOVAL

       4.     Removal is proper in this case based on diversity jurisdiction. A District

Court’s diversity jurisdiction may be invoked where there is complete diversity

between the parties at interest properly joined and served and where the matter in

controversy exceeds $75,000.00. Both requirements are met in this case. See 28

U.S.C. § 1441.

       5.     The federal removal statute provides for two points in time at which

removal may be appropriate. First, where grounds for federal jurisdiction exist on

the face of the complaint, defendants shall remove within 30 days of service. 28

U.S.C. § 1446(b)(1). Second, as applicable here:

       if the case stated by the initial pleading is not removable, a notice of removal
       may be filed within 30 days after receipt by the defendant, through service
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      or otherwise, of a copy of an amended pleading, motion, order or other paper
      from which it may first be ascertained that the case is one which is or has
      become removable.

Id. § 1446(b)(3).
      6.       Here, grounds for removal did not exist on the face of the complaint as

Plaintiff did not allege an amount in controversy that exceeded $75,000, and until

Plaintiff’s discovery responses, Plaintiff did not provide information from which

Defendant could ascertain his injuries or the amount in controversy or the Plaintiff’s

citizenship.

      7.       The standard of proof that must be met depends on whether the party is

removing the case under subparagraph (1) or subparagraph (3) of 28 U.S.C. §

1446(b). Where the removal is based on the initial pleading under subparagraph (1),

the elements of removal must be proven by a preponderance of the evidence. 28

U.S.C. § 1446(c)(2)(B). Where the removal is based on an “other paper” under

subparagraph (3), the elements of removal must be “unambiguously established.”

Lowery v. Alabama Power Co., 483 F. 3d 1184, 1207 (11th Cir. 2007).

      8.       Further, under 28 U.S.C. § 1446(b)(3)(A), “information relating to the

amount in controversy in the record of the State proceeding, or in responses to

discovery, shall be treated as an ‘other paper’ under subsection (b)(3).” The

requirements for removal under diversity of citizenship are met as follows:

                     DIVERSITY OF CITIZENSHIP EXISTS

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      9.     Diversity of citizenship exists when a suit is between citizens of different

States. 28 U.S.C. § 1332 (a)(1). Here, there is complete diversity of citizenship

between Plaintiff and RaceTrac because they are citizens of different States.

      10.    Upon information and belief, Jose Pedraza Nieves is a citizen of

Florida.

             a.     For purposes of diversity jurisdiction, the court must look to the

      citizenship of the parties at the time when the action was filed. See Freeport–

      McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991). Citizenship is

      equivalent to “domicile” for the purposes of diversity jurisdiction. McCormick

      v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002). “A person's domicile is

      the place of his true, fixed, and permanent home and principal establishment,

      and to which he has the intention of returning whenever he is absent

      therefrom.”    Id. at 1257-58 (internal quotations and citations omitted).

      Further, where one lives is prima facie evidence of domicile.             Dist. of

      Columbia v. Murphy, 314 U.S. 441, 455 (1941); Stine v. Moore, 213 F.2d 446,

      448 (holding that while “residence alone is not the equivalent of citizenship,

      although the place of residence is prima facie the domicile”); see also King v.

      Cessna Aircraft Co., 505 F.3d 1160, 1171-72 (11th Cir. 2007) (recognizing a

      presumption that a person’s state of residence is also his state of domicile).




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      b.    First, in his Complaint, Plaintiff fails to allege whether he was a

citizen of Florida. See Complaint, attached as Exhibit “A.” Accordingly, on

June 6, 2023, Defendant served Request for Admissions on the Plaintiff which

sought information relating to Plaintiff’s citizenship. See Request for

Admissions, attached as Exhibit “C.”

      c.    On November 29, 2023, Plaintiff Jose Pedraza Nieves served his

Responses to the Requests for Admissions. See Plaintiff, Jose Pedraza Nieves’

Response to Request for Admissions Exhibit “D”.

      d.    With respect to his citizenship, Plaintiff Jose Pedraza Nieves

admitted the following:

            i.     That on the date of filing of the Complaint and at all times

      relevant and material to the Complaint, Plaintiff Jose Pedraza Nieves

      was a citizen of the State of Florida. Exhibit “D” ¶ 1.

            ii.    That on the date of filing of the Complaint and at all times

      relevant and material to the Complaint, Plaintiff Jose Pedraza Nieves’

      true, fixed and permanent home and principal establishment was

      located in the State of Florida. Exhibit “D” ¶ 2.

            iii.   That Plaintiff Jose Pedraza Nieves was not a citizen of the

      State of Georgia for purposes of diversity jurisdiction pursuant to 28

      U.S.C. §1332. Exhibit “D” ¶ 8.


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             e.    “There is a presumption that the state in which a person resides

      at a given time is also that person’s domicile for purposes of diversity

      jurisdiction.” Jones, 141 F. Supp. 2d at 1355. Since there is a lack of any

      allegation that the Plaintiff was domiciled or citizen of anywhere but Florida,

      the Court may presume, until controverted by fact, that the Plaintiff was

      domiciled in Florida and was citizens of Florida. See Molinos Valle Del

      Cibao, C. por A. v. Lama, 633 F.3d 1330, 1342 (11th Cir. 2011).

      11.    For the purposes of establishing diversity jurisdiction, “a corporation

shall be deemed to be a citizen of any State by which it has been incorporated and

of the State where it has its principal place of business.” 28 U.S.C. § 1332(c)(1).

      12.    Plaintiff alleges that RaceTrac is a “Foreign Profit Corporation. . . .”

[Compl. at ¶ 3.] For purposes of diversity jurisdiction, the Court must look to the

state of incorporation and principal place of business. Defendant RaceTrac is a

Georgia corporation with its principal place of business in Georgia. [See Ex. “E”,

Florida Depart of State printout.] Thus, Defendant RaceTrac is a citizen of Georgia.

      13.    The Plaintiff is a citizen of Florida and RaceTrac is a citizen of

Georgia. Therefore, diversity of citizenship is complete since the Plaintiff does not

share citizenship with RaceTrac.

            THE AMOUNT IN CONTROVERSY EXCEEDS $75,000




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      14.    The Plaintiff’s claims in this matter exceed $75,000.00, exclusive of

attorney’s fees or costs.

      15.    In the Complaint, Plaintiff claims the damages exceed $50,001.00 and

otherwise does not demand a specific sum. [Compl. at ¶ 1.] Plaintiff also does not

offer any description of his claimed injuries in the Complaint.

      16.    On November 29, 2023, Plaintiff Jose Pedraza Nieves served his

answers to Defendant’s interrogatories. [Ex. “F”, Plaintiff Jose Pedraza Nieves’s

Answers to Interrogatories.]

      17.    In    Plaintiff   Jose   Pedraza    Nieves’     answers    to   Defendant’s

interrogatories, Plaintiff claims that he injured his right-side rib area, shoulder, trunk,

back, abdomen, neck and sustained an aggravation of an aortic aneurysm as a result

of the accident. [Ex. “E”, Plaintiff Jose Pedraza Nieves’ Answers to Interrogatories

at No. 10] He also disclosed that he accrued $499,742.20 in medical bills from his

treatment. [Ex. “G”, Plaintiff Jose Pedraza Nieves’ composite billing records

received in Res. Req. Produce.]

      18.    Plaintiff is also making pain and suffering claims, which would expand

his damages and claims for lost past wages and loss of future earning capacity. [Ex.

“F”, Plaintiff Jose Pedraza Nieves’ Answers to Interrogatories at No. 12.]




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      19.    It is unambiguously established that the amount in controversy in this

matter exceeds $75,000.00 based on the Plaintiff’s claims and the medical bills

incurred to date.

      20.    Although RaceTrac denies any liability in this matter, Plaintiff’s

discovery responses establish that the amount in controversy exceeds $75,000.00,

exclusive of attorney’s fees and costs.

               REMOVAL TIMELY IS OTHERWISE PROPER
      21.    Removal in this case is timely because it is filed within thirty days of

Plaintiff’s Answers to Interrogatories, Response to Request to Produce and

Response to Request for Admissions filed on November 29, 2023.

      22.    There is no other defendant named in this action. Therefore, RaceTrac

does not need to obtain the consent from any other party prior to removal.

      23.    Written notice of this filing is being promptly given to counsel for

Plaintiff and a Notice of Filing this Notice of Removal is being promptly filed with

the Clerk of Court of the Twentieth Judicial Circuit, in and for Collier County,

Florida., as required by 28 U.S.C. § 1446(d). A copy of this Notice is attached hereto

as Exhibit “H”.

      WHEREFORE, for the reasons stated above, RaceTrac has removed the

action presently pending against it in the Twentieth Judicial Circuit, in and for




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Collier County, Florida, Case No. 23-CA-001470 to the United States District Court

for the Middle District of Florida, Fort Myers Division.

       Dated this 22nd day of December 2023.

                                      Respectfully submitted:

                                      /s/Elizabeth Dehaan
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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and accurate copy of the foregoing

was electronically served via the Court’s CM/ECF System, this 22nd day of

December, 2023, on the following counsel of record identified below:

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